Case 1:24-cv-07975-AT Document 28 Filed 11/06/24 Pagelof1

USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK BEES LEON EEE FILED
Jane Doe, DOC #:
DATE FILED: 11/6/2024
Plaintiff,

-against- 24 Civ. 7975 (AT)

SEAN COMBS, DADDY’S HOUSE ORDER

RECORDINGS INC., CE OPCO, LLC d/b/a
COMBS GLOBAL f/k/a COMBS ENTERPRISES
LLC, BAD BOY ENTERTAINMENT
HOLDINGS, INC., BAD BOY PRODUCTIONS
HOLDINGS, INC., BAD BOY BOOKS
HOLDINGS, INC., BAD BOY RECORDS LLC,
BAD BOY ENTERTAINMENT LLC, BAD BOY
PRODUCTIONS LLC, ORGANIZATIONAL
DOES 1-10, AND INDIVIDUAL DOES 1-10,

Defendants.
ANALISA TORRES, District Judge:

On October 24, 2024, Plaintiff moved to proceed anonymously. ECF No. 24. When deciding
whether a plaintiff may proceed anonymously, courts balance “the plaintiff's interest in anonymity”
against “both the public interest in disclosure and any prejudice to the defendant.” Sealed Plaintiff v.
Sealed Defendant, 537 F.3d 185, 189 (2d Cir. 2008). Relevant factors include, inter alia, “whether
the litigation involves matters that are highly sensitive and of a personal nature,” “whether
identification poses a risk of retaliatory physical or mental harm to the party seeking to proceed
anonymously or even more critically, to innocent non-parties,” and “whether the plaintiff is
particularly vulnerable to the harms of disclosure.” Jd. at 190 (cleaned up) (citations omitted).

Plaintiff has made a preliminary showing that her interest in anonymity outweighs the interest
of the public and any prejudice to Defendants, see ECF Nos. 1, 26, so her motion is provisionally
GRANTED. However, the balance of these interests may shift as this matter proceeds, and
Defendants deserve to be heard on the issue. Accordingly, within 30 days after being served with the
complaint, Defendants may file any response in opposition. The Court reserves judgment on whether
to grant Plaintiff's motion on a more permanent basis.

The Clerk of Court is respectfully directed to terminate the motion at ECF No. 24.
SO ORDERED.

Dated: November 6, 2024
New York, New York

ANALISA TORRES
United States District Judge

